         Case 2:18-cr-00193-NIQA Document 44 Filed 10/18/18 Page 1 of 6




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                    :
                                            :
                                            :
              V.                            :       CRIMINAL NUMBER 18-193
                                            :
                                            :
DKYLE JAMAL BRIDGES and                     :
KRISTIAN JONES                              :



                                            ORDER

       AND NOW, this               day of            , 2018, having considered Defendants’

Joint Motion to Suppress Identifications, and the government’s Response thereto, it is hereby

ORDERED the Motion is GRANTED. Any unduly suggestive and unreliable identifications of

Defendants Bridges and Jones are hereby SUPPRESSED.

                                            BY THE COURT:



                                            __________________________________________
                                            HON. NITZA I. QUIÑONES ALEJANDRO
                                            United States District Court Judge
         Case 2:18-cr-00193-NIQA Document 44 Filed 10/18/18 Page 2 of 6




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                     :
                                             :
                                             :
               V.                            :       CRIMINAL NUMBER 18-193
                                             :
                                             :
DKYLE JAMAL BRIDGES and                      :
KRISTIAN JONES                               :



         DEFENDANTS’ JOINT MOTION TO SUPPRESS IDENTIFICATIONS

       Defendants Dkyle Jamal Bridges and Kristian Jones, by and through counsel, Andrew

Montroy, Esquire, and Leigh M. Skipper, Chief Federal Defender, respectfully move the Court to

suppress any out-of-court identifications by government witnesses of defendants that are unduly

suggestive and inherently unreliable, and any future in-court identification by those witnesses

that would be impermissibly tainted by their suggestive out-of-court identification.

       The defense has requested from the government any photo arrays provided to witnesses

during interviews with the Federal Bureau of Investigation. To date, the government has not

provided any such photos in discovery. It appears from the FBI report of witness statements that

several identifications of the defendants arose from single-photographic displays. But the

Supreme Court has explicitly found that “identifications arising from single-photograph displays

may be viewed in general with suspicion.” Manson v. Braithwaite, 432 U.S. 98, 116 (1977).

Any out-of-court identifications made as a result of single-photograph displays therefore must be

suppressed. And it follows that any future in-court identification by those witnesses would be

impermissible tainted by the previous suggestive out-of-court identification and must also be

precluded.
         Case 2:18-cr-00193-NIQA Document 44 Filed 10/18/18 Page 3 of 6




       Because the defense has not yet received any photo arrays shown to witnesses, however,

the defense reserves the right to supplement this Motion and move to suppress specific photo

arrays provided in discovery.

       WHEREFORE, for the reasons set forth in the accompanying Memorandum of Law, as

well as any which may become apparent at a hearing or the Court deems just, Defendants Dkyle

Jamal Bridges and Kristian Jones respectfully request that the Court grant this Motion and

suppress any identifications by government witnesses of defendants that are unduly suggestive

and inherently unreliable.

                                            Respectfully submitted,


                                            /s/ Andrew Montroy
                                            ANDREW MONTROY, ESQUIRE

                                            /s/ Leigh M. Skipper
                                            LEIGH M. SKIPPER
                                            Chief Federal Defender




                                                2
         Case 2:18-cr-00193-NIQA Document 44 Filed 10/18/18 Page 4 of 6




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :
                                               :
                                               :
               V.                              :       CRIMINAL NUMBER 18-193
                                               :
                                               :
DKYLE JAMAL BRIDGES and                        :
KRISTIAN JONES                                 :



                  MEMORANDUM OF LAW IN SUPPORT OF
          DEFENDANTS’ JOINT MOTION TO SUPPRESS IDENTIFICATIONS

       Defendants Dkyle Jamal Bridges and Kristian Jones submit this memorandum of law in

support of their Joint Motion to Suppress Identifications. Out-of-court identifications carry great

potential for misidentification. An identification procedure which is “both (1) unnecessarily

suggestive and (2) creates a substantial risk of misidentification violates due process” and must

be suppressed. United States v. Brownlee, 454 F.3d 131, 137 (3d Cir. 2006) (citing Manson v.

Braithwaite, 432 U.S. 98, 107 (1977)). Under information and belief, the out-of-court

identification procedures utilized in the investigation of defendants’ case involved single-

photograph displays, and therefore were unduly suggestive and led to certain government

witnesses making unreliable identifications. Consequently, their out-of-court identification must

be suppressed. See Manson v. Braithwaite, 432 U.S. 98, 116 (1977) (“[I]dentifications arising

from single-photograph displays may be viewed in general with suspicion.”); United States v.

Mark, No. 2006-80, 2007 WL 2669570, at *6-7 (D.V.I. Sept. 5 2007) (suppressing out-of-court

identifications, and, as a result, tainted in-court identifications, as unreliable due to “unduly

suggestive” identification procedures—witnesses who positively identified defendant pursuant to

a single photograph by referring to him by his nickname). And it follows that any future in-court
         Case 2:18-cr-00193-NIQA Document 44 Filed 10/18/18 Page 5 of 6




identification by those witnesses would be impermissibly tainted by the prior suggestive out-of-

court identifications and must also be precluded.

       Because the defense has not yet received any photo arrays shown to witnesses, however,

the defense reserves the right to supplement this Motion and move to suppress specific photo

arrays provided in discovery.

       WHEREFORE, defendants respectfully request that the Court grant their Motion and

suppress any identifications by government witnesses of defendants that are unduly suggestive

and inherently unreliable.

                                             Respectfully submitted,


                                             /s/ Andrew Montroy
                                             ANDREW MONTROY, ESQUIRE

                                             /s/ Leigh M. Skipper
                                             LEIGH M. SKIPPER
                                             Chief Federal Defender




                                                2
         Case 2:18-cr-00193-NIQA Document 44 Filed 10/18/18 Page 6 of 6




                                CERTIFICATE OF SERVICE

       We, Andrew Montroy, Esquire, and Leigh M. Skipper, Chief Federal Defender, hereby

certify that we electronically filed and served a copy of Defendants’ Joint Motion to Suppress

Identifications and Memorandum of Law in Support thereof upon Seth M. Schlessinger,

Assistant United States Attorney, United States Attorney’s Office, Suite 1250, 615 Chestnut

Street, Philadelphia, Pennsylvania 19106 and upon Jessica L. Urban, Esquire, Trial Attorney,

United States Department of Justice, Criminal Division, 1400 New York Avenue, N.W.,

Washington, D.C. 20005.



                                             /s/ Andrew Montroy
                                             ANDREW MONTROY, ESQUIRE

                                             /s/ Leigh M. Skipper
                                             LEIGH M. SKIPPER
                                             Chief Federal Defender


DATE: October 18, 2018
